                         Case 2:14-cv-02351-TJS Document 9 Filed 08/04/14 Page 1 of 1
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court           EASTERN DISTRICT OF PENNSYLVANIA                                   on the following
      ✔ Trademarks or
      G                       G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
         13-2351                           4/23/2014                               EASTERN DISTRICT OF PENNSYLVANIA
PLAINTIFF                                                                    DEFENDANT
 Starwood Capital Group LLC                                                    1 & 1 Mail & Media Inc - 701 Lee Road, Ste. 300
 597 Putnam Avenue Greenwich, CT 06830                                         Chesterbrook PA, World Media Group, LLC - 25
                                                                               Mountainview Blvd, Ste. 204, Basking Ridge, NJ

        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 3,531,551                                11/11/2008                  Starwood Capital Group LLC

2 3,269,247                                7/24/2007                   Starwood Capital Group LLC

3 2,891,495                                10/5/2004                   Starwood Capital Group LLC

4 2,181,927                                8/18/1998                   Starwood Capital Group LLC

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 6/13/2014 - Notice of Voluntary Dismissal




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
MICHAEL E. KUNZ, CLERK OF COURT                                Alexander Eggert                                                8/4/2014

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
